Case 8:21-cv-00274-KKM-SPF Document 12 Filed 03/18/21 Page 1 of 2 PageID 119




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA

 SOCIAL POSITIONING INPUT
 SYSTEMS, LLC,                                      CIVIL ACTION NO. 8:21-CV-00274

           Plaintiff,                                JURY TRIAL DEMANDED
     v.
                                                     PATENT CASE
 CALLPASS, LLC,

           Defendant.


               JOINT STIPULATION AND ORDER OF DISMISSAL

           Plaintiff Social Positioning Input Systems, LLC and Defendant CallPass,

  LLC by their respective undersigned counsel, hereby STIPULATE and AGREE

  as follows:

          1.       All claims asserted by the Plaintiff in this action are dismissed with

prejudice and all claims asserted by the Defendant in this Action are dismissed

without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);

          2.       Each party shall bear its own costs and attorneys’ fees with respect to

the matters dismissed hereby;

          This Stipulation and Order shall finally resolve the Action between the

parties.

          DATED: March 18, 2021




{00367376.DOCX }                            1
Case 8:21-cv-00274-KKM-SPF Document 12 Filed 03/18/21 Page 2 of 2 PageID 120




                                        Respectfully Submitted,

                                        /s/ Howard L. Wernow
                                        Howard L. Wernow, B.C.S.
                                        Fla Bar No. 107560
                                        SAND SEBOLT & WERNOW CO.,
                                        LPA
                                        4940 Munson Street NW
                                        Canton, Ohio 44718
                                        Telephone: 330-244-1174
                                        Facsimile: 330-244-1173
                                        Howard.Wernow@sswip.com

                                        ATTORNEYS FOR PLAINTIFF
                                        SOCIAL POSITIONING INPUT
                                        SYSTEMS, LLC.

                                        /s/ Eleanor T. Barnett
                                        Eleanor T. Barnett, Esq
                                        Florida Bar No. 0355630
                                        WALDMAN BARNETT, P.L.
                                        3250 Mary Street, Suite 102
                                        Coconut Grove, Florida 33133
                                        TekL (305) 371-8809
                                        ebarnett@waldmanbarnett.com
                                        litservice@waldmanbarnett.com

                                        ATTORNEYS FOR DEFENDANT
                                        CALLPASS, LLC




{00367376.DOCX }                  2
